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                                                         The Honorable Richard A. Jones
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 7                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 8                                AT SEATTLE
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      UNITED STATES OF AMERICA,                   Case No. CR18-92RAJ
10         Plaintiff,                             ORDER AUTHORIZING THE
11         v.                                     WITHDRAWAL OF RUSSELL M.
      DIANE RENEE ERDMANN,                        AOKI AND ISHAM M. REAVIS AS
12                                                CO-COUNSEL FOR DEFENDANT
           Defendant.                             DIANE ERDMANN
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           THIS MATTER having come before this Court upon the unopposed motion of
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     Russell M. Aoki and Isham M. Reavis of Aoki Law, PLLC, to withdraw as co-counsel
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     for Defendant Diane Erdmann, the Court hereby permits Mr. Aoki and Mr. Reavis to
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     withdraw as counsel for Ms. Erdmann. Co-counsel Steven Fogg and his associate
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     counsel Benjamin Byers of Corr Cronin LLP, who have been consulted and do not
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     oppose the request to withdraw, will remain as Ms. Erdmann’s counsel of record.
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           DATED this 10th day of May, 2022.
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                                                    HON. RICHARD A. JONES
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                                                    United States District Court Judge
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